AO 472 (Rev. 09/08) Detention Order Pending Trial


                                     UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District of Tennessee

                   United States of America                              )
                              v.                                         )
                                                                         )       Case No.       3:15-CR-56
                      MAYRA BLAIR                                        )
                            Defendant                                    )

                                               DETENTION ORDER PENDING TRIAL

         After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), I conclude that these facts
require that the defendant be detained pending trial.
                                             Part I—Findings of Fact
G (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has previously been convicted
          of     G a federal offense        G a state or local offense that would have been a federal offense if federal
               jurisdiction had existed - that is
                G a crime of violence as defined in 18 U.S.C. § 3156(a)(4)or an offense listed in 18 U.S.C. § 2332b(g)(5)
                  for which the prison term is 10 years or more.

                G an offense for which the maximum sentence is death or life imprisonment.
                G an offense for which a maximum prison term of ten years or more is prescribed in                        18 U.S.C. § 2250(a)
                                                                                                                              .*
                G a felony committed after the defendant had been convicted of two or more prior federal offenses
                  described in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses:

                G any felony that is not a crime of violence but involves:
                    G a minor victim
                    G the possession or use of a firearm or destructive device or any other dangerous weapon
                    G a failure to register under 18 U.S.C. § 2250
G (2)          The offense described in finding (1) was committed while the defendant was on release pending trial for a
               federal, state release or local offense.

G (3)          A period of less than five years has elapsed since the            G date of conviction           G the defendant’s release
               from prison for the offense described in finding (1).
G (4)          Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition will reasonably assure the
               safety of another person or the community. I further find that the defendant has not rebutted this presumption.

                                                         Alternative Findings (A)
G (1)          There is probable cause to believe that the defendant has committed an offense
                G for which a maximum prison term of ten years or more is prescribed in 21 U.S.C. §§ 841 and 846 .


         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C.
        Case         § 951 et seq.); or (c) Section 1 of ActDocument
                 3:15-cr-00056-TAV-DCP                      of Sept. 15, 1980
                                                                           24(21 U.S.C.
                                                                                  Filed§ 955a).
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                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                     Eastern District of Tennessee

                  under 18 U.S.C. § 924(c).
G (2)       The defendant has not rebutted the presumption established by finding 1 that no condition will reasonably assure
            the defendant’s appearance and the safety of the community.

                                                       Alternative Findings (B)
X (1)        There is a serious risk that the defendant will not appear.
G (2)        There is a serious risk that the defendant will endanger the safety of another person or the community.




                                    Part II— Statement of the Reasons for Detention
         I find that the testimony and information submitted at the detention hearing establishes by         G clear and
convincing evidence           X a preponderance of the evidence that
the Defendant is a flight risk.

Please see the attached Statement of the Reasons for the Court’s findings on the reasons for detention in this case.




                                               Part III—Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or a designated representative for confinement
in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or held in custody
pending appeal. The defendant must be afforded a reasonable opportunity to consult privately with defense counsel. On
order of United States Court or on request of an attorney for the Government, the person in charge of the corrections facility
must deliver the defendant to the United States marshal for a court appearance.


Date:             March 24, 2015                                s/ C. Clifford Shirley, Jr.
                                                                                     Judge’s Signature

                                                                United States Magistrate Judge C. Clifford Shirley, Jr.
                                                                                       Name and Title




         *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act
         (21 U.S.C.
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                                                                           24(21 U.S.C.
                                                                                  Filed§ 955a).
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                              United States v. Blair, 3:15-CR-56
                       Part II— Statement of the Reasons for Detention

The Court finds that the testimony and information submitted at the detention hearing establishes
by a preponderance of the evidence that the Defendant poses a risk of flight.

The Court must weigh the factors found in 18 U.S.C. § 3142(g) when determining whether a
defendant shall be detained or released pending trial. In this case, the nature and circumstances
of the offenses charged do not create a presumption that there are “no condition or combination
of conditions [that] will reasonably assure the appearance of the person as required and the safety
of the community[.]” 18 U.S.C. § 3142(e)(3)(A); 18 U.S.C. § 3142(e)(3). However,
regardless of the lack of presumption, the Court’s inquiry must not stop there but must weigh the
factors set forth in 18 U.S.C. § 3142(g).

The Court finds that the Government failed to prove by clear and convincing evidence that the
Defendant is a danger to the community. The weight of the evidence against the Defendant is
insufficient to show that she presents a danger to the community or that, should she be released,
she would attempt to threaten a witness or other interested party in this case. The Government
asserts that the Defendant sent threatening messages to a witness, Diane Ortiz, and her family and
that she placed Ms. Ortiz’s photo on a Santa Muerta altar. However, at no time did the
Government present evidence of the substance of these alleged messages and the letters at issue
appear to show otherwise. Further, Officer Vicente testified that Ms. Ortiz stated that she
originally thought the placement of her picture was “a good thing,” and only after finding herself
in jail did she find such placement threatening. The Government’s allegations of Defendant’s
danger seem to be mostly conjecture without the benefit of substantive evidence. As such, the
Court finds that the Government did not prove that Defendant was a danger to the community by
clear and convincing evidence.

As to flight, the nature and circumstances of the offense charged creates neither a presumption nor
argument for detention. Further, the history and characteristics of the Defendant weigh in favor
of release. Defendant has strong community ties, is employed, has family ties in East Tennessee,
and her criminal record is minimal. However, the Government presented letters written in the
Defendant’s handwriting alluding to promises made by the Defendant to assist Ms. Ortiz in an
attempt to flee the United States upon her release on bond and to fulfill Defendant’s promise to
travel to Mexico and close her business in East Tennessee. In addition, the charges against the
Defendant involve, and the evidence established, the utilizing of false identifications, drivers
licenses, and birth certificates. Defendant also has contacts and family in Mexico, and her
husband is allegedly a Mexican national residing in the United States illegally. Therefore, the
second factor regarding the weight of the evidence of Defendant’s risk of flight weighs in favor of
detention. These letters indicate a plan to flee. Further, the Defendant’s counsel presented the
Court with an uncashed check made out to the Defendant’s business for over $27,000.00,
constituting sufficient proof that Defendant has the financial means to flee. The Defendant
clearly has a motive to flee, she alluded to a plan to flee in two handwritten letters, and she has the
financial means to flee. The only ingredient missing from Defendant’s flight is the opportunity to
do so, which this Court cannot and will not grant. The Court finds by a preponderance of the

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evidence that the Defendant is a risk of flight by virtue of her own letters of intent and planning and
that there are no conditions that the Court could place on the Defendant to ameliorate the risk of
flight.




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